Case 6:19-cv-00059-RWS Document 186-9 Filed 04/27/21 Page 1 of 12 PageID #: 2692




                          Exhibit I
Case 6:19-cv-00059-RWS Document 186-9 Filed 04/27/21 Page 2 of 12 PageID #: 2693




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

  LONE STAR TECHNOLOGICAL                           §
  INNOVATIONS, LLC,                                 §
                                                    §
                        Plaintiff,                  §
                                                    §    Civil Case No. 6:19-cv-00059-RWS
                v.                                  §
                                                    §    LEAD CASE
  ASUSTEK COMPUTER INC.,                            §
                                                    §
                        Defendant.                  §
                                                    §
                                                    §


                                        VERDICT FORM

        In answering these questions, you are to follow all of the instructions I have given you in

 the court’s charge. As used in this Verdict Form, “Lone Star” means the Plaintiff Lone Star

 Technological, Innovations, LLC and “ASUS” means Defendant ASUSTek Computer Inc.




 PROPOSED JURY VERDICT FORM
Case 6:19-cv-00059-RWS Document 186-9 Filed 04/27/21 Page 3 of 12 PageID #: 2694




 QUESTION NO. 1: INFRINGEMENT

        Has Lone Star proved by a preponderance of the evidence that ASUS has directly

 infringed any of the following claims of U.S. Patent No. 6,724,435 (the ’435 patent) in

 connection with the 3-axis product VG248QE?


 Write “Yes” or “No” in the space provided beside each particular claim.

                        Patent Claim              Infringed
                        Claim 1
                        Claim 2
                        Claim 3
                        Claim 5
                        Claim 6
                        Claim 13
                        Claim 14
                        Claim 15

 Proceed to the next question.




 PROPOSED JURY VERDICT FORM
Case 6:19-cv-00059-RWS Document 186-9 Filed 04/27/21 Page 4 of 12 PageID #: 2695




 QUESTION NO. 2: INFRINGEMENT

        Has Lone Star proved by a preponderance of the evidence that ASUS has directly

 infringed any of the following claims of U.S. Patent No. 6,724,435 (the ’435 patent) in

 connection with the 6-axis product ASUS PA328Q?



        Write “Yes” or “No” in the space provided beside each particular claim.

                                Patent Claim              Infringed

                                Claim 1

                                Claim 2

                                Claim 3

                                Claim 5

                                Claim 6

                                Claim 13

                                Claim 14

                                Claim 15



        Proceed to the next question.




 PROPOSED JURY VERDICT FORM
Case 6:19-cv-00059-RWS Document 186-9 Filed 04/27/21 Page 5 of 12 PageID #: 2696




 QUESTION NO. 3: INFRINGEMENT

        Has Lone Star proved by a preponderance of the evidence that ASUS actively induced

 infringement of any of the following claims of U.S. Patent No. 6,724,435 (the ’435 patent) in

 connection with the 3-axis product VG248QE?


 Write “Yes” or “No” in the space provided beside each particular claim.

                        Patent Claim              Infringed
                        Claim 1
                        Claim 2
                        Claim 3
                        Claim 5
                        Claim 6
                        Claim 13
                        Claim 14
                        Claim 15

 Proceed to the next question.




 PROPOSED JURY VERDICT FORM
Case 6:19-cv-00059-RWS Document 186-9 Filed 04/27/21 Page 6 of 12 PageID #: 2697




 QUESTION NO. 4: INFRINGEMENT

        Has Lone Star proved by a preponderance of the evidence that ASUS has actively

 induced infringement of any of the following claims of U.S. Patent No. 6,724,435 (the ’435

 patent) in connection with the 6-axis product ASUS PA328Q?


 Write “Yes” or “No” in the space provided beside each particular claim.

                        Patent Claim             Infringed
                        Claim 1
                        Claim 2
                        Claim 3
                        Claim 5
                        Claim 6
                        Claim 13
                        Claim 14
                        Claim 15

 Proceed to the next question.




 PROPOSED JURY VERDICT FORM
Case 6:19-cv-00059-RWS Document 186-9 Filed 04/27/21 Page 7 of 12 PageID #: 2698




 QUESTION NO. 5: INFRINGEMENT

        Has Lone Star proved by a preponderance of the evidence that ASUS is liable as a

 contributory infringer of any of the following claims of U.S. Patent No. 6,724,435 (the ’435

 patent) in connection with the 3-axis product VG248QE?


 Write “Yes” or “No” in the space provided beside each particular claim.

                        Patent Claim              Infringed
                        Claim 1
                        Claim 2
                        Claim 3
                        Claim 5
                        Claim 6
                        Claim 13
                        Claim 14
                        Claim 15

 Proceed to the next question.




 PROPOSED JURY VERDICT FORM
Case 6:19-cv-00059-RWS Document 186-9 Filed 04/27/21 Page 8 of 12 PageID #: 2699




 QUESTION NO. 6: INFRINGEMENT

        Has Lone Star proved by a preponderance of the evidence that ASUS is liable as a

 contributory infringer of any of the following claims of U.S. Patent No. 6,724,435 (the ’435

 patent) in connection with the 6-axis product ASUS PA328Q?


 Write “Yes” or “No” in the space provided beside each particular claim.

                        Patent Claim              Infringed
                        Claim 1
                        Claim 2
                        Claim 3
                        Claim 5
                        Claim 6
                        Claim 13
                        Claim 14
                        Claim 15

 Proceed to the next question.




 PROPOSED JURY VERDICT FORM
Case 6:19-cv-00059-RWS Document 186-9 Filed 04/27/21 Page 9 of 12 PageID #: 2700




 QUESTION NO. 7: INFRINGEMENT

        Has Lone Star proved by a preponderance of the evidence that ASUS sold, offered to sell,

 or imported any of the following products knowing same to be especially made or especially

 adapted for use in an infringement of U.S. Patent No. 6,724,435 (the ‘435 patent)?


 Write “Yes” or “No” in the space provided beside each product.

                        Product                   Yes or No?
                        VG248QE
                        ASUS PA328Q

 Proceed to the next question.




 PROPOSED JURY VERDICT FORM
Case 6:19-cv-00059-RWS Document 186-9 Filed 04/27/21 Page 10 of 12 PageID #: 2701




  QUESTION NO. 8: INVALIDITY

         Has ASUS proved by clear and convincing evidence that any of the following claims of

  Lone Star’s U.S. Patent No. 6,724,435 (’435 patent) are invalid?


  Write "Yes" or "No" in the space provided for each question and claim.

                         Patent Claim              Invalid
                         Claim 1
                         Claim 2
                         Claim 3
                         Claim 5
                         Claim 6
                         Claim 13
                         Claim 14
                         Claim 15


  Please proceed to the next question.




  PROPOSED JURY VERDICT FORM
Case 6:19-cv-00059-RWS Document 186-9 Filed 04/27/21 Page 11 of 12 PageID #: 2702




  QUESTION NO. 9: DAMAGES

           Only award damages if you found that at least one of the asserted claims of the ’435

  Patent (Claims 1, 2, 3, 5, 6, 13, 14, 15) was infringed and not invalid.

          What sum of money, if paid now, do you find by a preponderance of the evidence would

  fairly and reasonably compensate Lone Star for ASUS’s infringement of the ’435 Patent up to

  the time of trial?

          DO NOT answer this part of the question unless you found one or more valid claims of

  U.S. Patent No. 6,724,435 (‘435 patent) infringed by ASUS.


  Answer in dollars and cents.          $_________________________




  Please proceed to the next page, and your Presiding Juror will sign the Verdict Form




  PROPOSED JURY VERDICT FORM
Case 6:19-cv-00059-RWS Document 186-9 Filed 04/27/21 Page 12 of 12 PageID #: 2703




  We, the jury, unanimously answered the preceding questions by a preponderance of the evidence
  or by clear and convincing evidence as instructed for each question.
  Submitted the ______ day of _________, 2021 at _____ o’clock ,___. m.



                                             _________________________________
                                             PRESIDING JUROR




  PROPOSED JURY VERDICT FORM
